                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 15-46403

ERIN PATRICIA CHEHADI,                                        Chapter 7

            Debtor.                                           Judge Thomas J. Tucker
____________________________________/

 OPINION REGARDING DEBTOR’S TURNOVER MOTION, AND THE CHAPTER 7
 TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTIONS/TURNOVER
  MOTION, AND THE CHAPTER 7 TRUSTEE’S CORRECTED OBJECTION TO
         DEBTOR’S CLAIM OF EXEMPTIONS/TURNOVER MOTION

         This case came before the Court for an evidentiary hearing on September 28, 2015, on

certain unresolved issues involved in the following matters: (1) Debtor’s motion entitled “Motion

For Turnover of Seized Social Security Funds to the Debtor” (Docket # 19); (2) the Chapter 7

Trustee’s Objection to Debtor’s Claim of Exemptions and Motion for Turnover (Docket # 24);

and (3) the “corrected” version of the Trustee's Objection, which was filed on June 23, 2015

(Docket # 28).

         Based on the evidence presented, the Court makes the following findings of fact and

conclusions of law.

         1. The Court incorporates by reference its prior order, filed July 2, 2015, entitled “Order

Regarding Further Proceedings on Debtor’s Turnover Motion, and the Chapter 7 Trustee’s

Objection to Debtor’s Claim of Exemptions/Turnover Motion, and the Chapter 7 Trustee’s

Corrected Objection to Debtor’s Claim of Exemptions/Turnover Motion” (Docket # 40, the “July

2, 2015 Order”).

         2. The Court incorporates by reference the bench opinion it gave during the July 1, 2015

hearing. (A transcript of that bench opinion is filed at Docket # 46).




   15-46403-tjt       Doc 74    Filed 10/02/15     Entered 10/02/15 16:40:34        Page 1 of 6
        3. Of the $30,000.00 that was transferred to Debtor’s TCF Bank account on April 13,

2015, the Court has previously ruled regarding $5,000.00 of the $30,000.00 amount, in the July

2, 2015 Order at ¶ 3 (Docket # 40).

        4. None of the remaining $25,000.00 that was transferred to Debtor’s TCF Bank account

on April 13, 2015 (the “remaining $25,000.00”) is deemed to be social security funds protected

by 42 U.S.C. § 407, and to the extent such sum remained in Debtor’s bank account or otherwise

had not yet been spent as of the date and time when Debtor filed her bankruptcy petition on April

23, 2015, it is property of the bankruptcy estate under 11 U.S.C. § 541, subject to any allowed

claim of exemption. And the Debtor has an allowed exemption in such amount, up to the

amount of $4,725.00, under 11 U.S.C. § 522(d)(5).1

        5. The Debtor has failed to meet her burden of proving, by a preponderance of the

evidence, any of the following: (a) that any of the remaining $25,000.00 should be considered to

be social security funds; (b) that when Debtor transferred $25,000.00 of her social security funds

from her bank account to the bank account titled jointly in the name of her husband and her

daughter, on April 7, 2015, either a bailment or a resulting trust was intended by Debtor or

created. The Debtor has failed to rebut the presumption under Michigan law that her transfer of

the remaining $25,000.00 on April 7, 2015, to the bank account owned jointly by Debtor’s

husband and daughter, was a gift that transferred ownership of the funds jointly to the Debtor’s

husband and daughter. See Innis v. Michigan Trust Co., 213 N.W. 85, 86 (Mich. 1927)(citing

Waterman v. Seeley, 28 Mich. 77, 81 (1873)). Thus, when the Debtor transferred the remaining


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          This amount is calculated as discussed during the July 1, 2015 hearing (Tr. (Docket # 46) at
27-28), and based on Debtor’s Schedule C filed on April 23, 2015 (Docket # 1) and the Court’s July 2,
2015 Order (Docket # 40) at ¶ 3.

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   15-46403-tjt      Doc 74     Filed 10/02/15      Entered 10/02/15 16:40:34          Page 2 of 6
$25,000.00 into her husband/daughter’s bank account on April 7, 2015, those funds lost their

character as social security funds. As the Court held in its July 1, 2015 bench opinion,

               . . . one implication of these cases, Shumate and S&S Diversified,
               is that to the extent the Debtor transferred ownership of Social
               Security funds that were owned by the Debtor and were in her
               account, bank account, to the extent the Debtor transferred
               ownership of those funds to other persons, that is the daughter and
               husband jointly with respect to their bank account and to the
               husband with respect to the $5,000, and the Debtor did not retain
               any ownership of the funds, to that extent, and I agree with the
               Trustee, that the funds lose their characteristics -- characteristic as
               Social Security funds and lose the protection of Section 407 of the
               42 U.S. Code, and to the extent they are -- that there are funds from
               those sources paid back to the Debtor later prepetition, those are
               funds which are viewed as ordinary funds and not Social Security
               funds.

(Tr. of July 1, 2015 hearing (Docket # 46) at 14-15).

       6. The evidence of the Debtor’s intent is not sufficient to prove any of the things

referenced in ¶¶ 5(a) and 5(b) above. The Debtor did not testify at the evidentiary hearing. But

at least some of the testimony of the Debtor that was admitted into evidence regarding the

subjects referenced in ¶ 5 above, in the form of the Debtor’s testimony at the May 20, 2015 First

Meeting of Creditors (Trustee’s Ex. 1 at 5, line 9) and the Debtor’s affidavit (Trustee’s Ex. 5 at ¶

7)(reference to Debtor’s daughter’s understanding) is false, and in those same respects, is

inconsistent with the testimony of the Debtor’s husband, Samer Chehadi, given at the evidentiary

hearing. Furthermore, the Debtor lacks credibility as a witness, given the proven falsity of some

of her testimony, described above, and given her husband’s testimony that (a) the Debtor was

“out of it” and “zoned out” when testifying at her First Meeting of Creditors, due the medications

she was taking; and (b) the Debtor lies when she is on her medication.



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   15-46403-tjt     Doc 74     Filed 10/02/15     Entered 10/02/15 16:40:34         Page 3 of 6
       7. The Debtor’s husband, Samer Chehadi, testified that it was his understanding and the

Debtor’s understanding that the $25,000.00 in funds, which the Debtor transferred to the joint

bank account of her husband and her daughter on April 7, 2015, continued to be the Debtor’s

money after the transfer. And on redirect examination, Mr. Chehadi testified that on April 7,

2015, he and the Debtor discussed that the money to be transferred that day would be the

Debtor’s money. But the Court finds this testimony by Mr. Chehadi to be unpersuasive and not

credible. Obviously, Mr. Chehadi has a strong personal and financial interest in the outcome of

this matter. But in addition, the Court finds it more likely than not that the Debtor and her

husband intended the April 7, 2015 transfer of funds to be an outright transfer of ownership away

from the Debtor, because they thought that this would be necessary to protect the funds from

garnishment by the Debtor’s creditor, Provident Unum Life Insurance Company. Cf. Taunt v.

Hurtado (In re Hurtado), 342 F.3d 528, 535 (6th Cir. 2003)(finding that the bankruptcy debtor

placed his funds into a bank account owned only by his mother, in order to “insulate” the funds

from the debtor’s creditors; and noting the debtor’s purpose that “[t]hrough this mechanism, the

funds could no longer be considered assets of the debtors”).

       8. It is undisputed, and overwhelmingly established by the evidence, that the Debtor’s

purpose, in transferring the $25,000.00 to the joint bank account of her husband and daughter on

April 7, 2015, was to try to shield the funds from garnishment by a creditor, Provident Unum

Life Insurance Company. (Before making the April 7, 2015 transfer, the Debtor feared such a

garnishment, even though, unbeknownst to the Debtor and her husband at the time, such funds

could not actually have been garnished by any creditor if they had been simply left in Debtor’s

bank account, because of the protection afforded to social security benefits by 42 U.S.C. § 407.)


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   15-46403-tjt     Doc 74     Filed 10/02/15     Entered 10/02/15 16:40:34        Page 4 of 6
        9. Because Debtor’s transfer of the $25,000.00 in funds on April 7, 2015 was done with

an actual intent by the Debtor to hinder, defraud, or delay a creditor, Debtor’s claim that she

retained a beneficial interest in such funds after the transfer, under a theory of resulting trust, is

barred as a matter of law, under Michigan common law. See Faris v. Faris, 230 N.W. 945, 946

(Mich. 1930)(rejecting a similar resulting trust claim by a husband who had transferred to his

wife his interest in real estate, which he had held in a tenancy by the entirety with his wife,

because a creditor had sued the husband; the court held that because of the husband’s “fraudulent

purpose” in making the transfer, “he has no right to invoke relief against such act”);2 see also

Taunt v. Hurtado, 342 F.3d at 535 (a debtor’s placing of his funds into his mother’s bank

account, to insulate the funds from the debtor’s creditors, was a fraudulent purpose such that

even if the mother had been subject to “some formal contractual arrangement to obey the

debtor’s commands” regarding the money in the mother’s account, such arrangement would have

been “void because it lacked consideration” under Michigan law; and noting that under

Michigan law a contract entered for the purpose of carrying out a fraudulent conveyance is


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           In Faris, the Michigan Supreme Court labeled it a “fraudulent purpose,” which precluded the
plaintiff husband’s resulting trust claim, for the husband to have reacted to being sued by one of his
creditors by transferring real property, which he and his wife owned as tenants by the entirety, to the sole
ownership of his wife. This is so even though when the husband made this transfer, in 1891, his
entireties property interests were not reachable by his creditors under Michigan law. In other words, the
transfer actually was not necessary to protect the property at issue from the husband’s creditors. See
Vinton v. Beamer, 22 N.W. 40 (Mich. 1885)(a judgment creditor of only one of two spouses, who owned
property as tenants by the entirety, could not levy under execution on such property to satisfy the
judgment). The same is true today. See Liberty State Bank & Trust v. Grosslight (In re Grosslight), 757
F.2d 773, 776 (6th Cir. 1985)(“Under Michigan law, ordinary creditors cannot reach interests in
entireties property, and the entire interest will therefore be exempt if there are no joint creditors.”).

        Despite the fact that in Faris the husband’s transfer was not necessary to protect his property
from his creditor, and without discussing this, the Michigan Supreme Court barred the husband’s
resulting trust claim because of the husband’s “fraudulent purpose” in making the transfer to his wife.
Faris closely parallels this case.

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   15-46403-tjt      Doc 74      Filed 10/02/15       Entered 10/02/15 16:40:34           Page 5 of 6
illegal and void).

        10. Debtor’s bailment theory, argued for the first time in a brief filed by Debtor the day

before the evidentiary hearing (Docket # 72) fails because (a) Debtor failed to meet her burden of

proving the intent and agreement of the parties necessary to establish a bailment; (b) and because

of the holdings in the Faris and the Hurtado cases, described in ¶ 9 above. See generally In re

George L. Nadell & Co., 292 N.W. 684, 686 (Mich. 1940)(“In its broadest sense it (bailment) has

been said to include any delivery of personal property in trust for a lawful purpose . . . the term

(bailment) may be said to import the delivery of personal property by one person to another in

trust for a specific purpose, with a contract, express or implied, that the trust shall be faithfully

executed and the property returned or duly accounted for when the special purpose is

accomplished, or kept, until the bailor reclaims it.” (citation omitted; emphasis added)).

        11. Based on the foregoing findings and conclusions, the Court will enter a separate

order that is consistent with this opinion.


Signed on October 2, 2015                               /s/ Thomas J. Tucker
                                                        Thomas J. Tucker
                                                        United States Bankruptcy Judge




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   15-46403-tjt      Doc 74     Filed 10/02/15      Entered 10/02/15 16:40:34         Page 6 of 6
